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UNITED STATES DISTRICT COURT TESTS PH 3:82
FOR THE SOUTHERN DISTRICT OF OHIO 5
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA, : No. 3:18cr184 as

Plaintiff, : INDICTMENT

Ws 18 U.S.C. § 1341
18 U.S.C. § 1343 WALTER H. RICE
CLAYTON LUCKIE, 18 U.S.C. § 2
Defendant.

The Grand Jury charges:
COUNT ONE
[18 U.S.C. §§ 1341 and 2]
To INTRODUCTION

At all times relevant to this Indictment:

1. Defendant CLAYTON LUCKIE was a businessman in the
greater Dayton, Ohio, metropolitan area who purported to have an
affiliation with an entity identified herein as Corporation A.
Based on publicly available information, Corporation A provided
administrative support services, document management, and
database maintenance. Corporation A did not perform work in the
construction industry, such as the actual demolition of

buildings and removal of debris from job sites.

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2. Federal, state, and local government entities
administer several programs aimed at providing assistance to,
and increasing the competitiveness of, certain small businesses
owned or controlled by socially or economically disadvantaged
individuals (hereinafter “Disadvantaged Businesses”) . (Notably,
Corporation A was a Disadvantaged Business). These programs
help Disadvantaged Businesses obtain certain federal, state or
local certifications that allow these enterprises to bid on, or
otherwise participate in the performance of, certain government
contracts .

3. When awarding Aon eects, government entities often set
goals or require that a qualified and certified Disadvantaged
Business perform some portion of the work on the project. In
doing so, the government entity may award all or a portion of
the contract directly to the Disadvantaged Business.
Alternatively, the government entity may give the contract to a
non-disadvantaged business on the condition that the non-
disadvantaged business sub-contract a portion of the project to
a qualified and certified Disadvantaged Business. To ensure
that a non-disadvantaged business has actually retained a
Disadvantage Business to perform bona fide work as a

subcontractor, government entities will require both the non-

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disadvantage business and the Disadvantage Business to submit
valid, correct invoices reflecting work actually performed on
the project.

4. In an effort to evade these Disadvantaged Business
goals or requirements, some individuals engage in various forms
of fraud on the contracting government entity. Most notably,
some non-disadvantaged businesses falsely satisfy the
Disadvantaged Business subcontracting goals or requirements of a
government contract. Rather than using a certified and
qualified Disadvantaged Business to handle a portion of the
project as represented to the government entity, the non-
disadvantaged business performs all or a substantial portion of
this work itself. The non-disadvantaged business nevertheless
falsely certifies to the government entity that a Disadvantaged
Business performed actual, bona fide work on the contract.

Bis To provide legitimacy to this false claim, the non-
disadvantaged business obtains the assistance of an actual
Disadvantaged Business to perpetrate the fraud. The
Disadvantaged Business either allows its name to be submitted on
the paperwork to the government even though it performed no work’
on the project or work substantially below that contained in the

contract. In return for permitting the fraudulent use of its

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name on the paperwork, the Disadvantaged Business receives a
small payment from the non-disadvantaged business even though it
performed no or little bona fide work on the project. The
Disadvantaged Business also may provide additional false
paperwork for submission to the government entity, including,
but not limited to, fake invoices, time cards or other
fraudulent paperwork.

II. THE SCHEME TO DEFRAUD AND ITS EXECUTION

 

6. Between a beginning date unknown, but at least by in
or around June 2016, and continuing through in or around January
2017, in the Southern District of Ohio, defendant CLAYTON LUCKIE
knowingly and with the intent to defraud, devised, executed, and
participated in a scheme to defraud the City of Dayton and to
obtain money and property owned by and under the custody and
control of the City of Dayton, by means of materially false and
fraudulent pretenses, representations, and promises, and the
non-disclosure and concealment of material facts through a
fraudulent Disadvantaged Business scheme.

7. Defendant CLAYTON LUCKIE devised this fraudulent
Disadvantaged Business scheme to operate, and the Disadvantaged

Business scheme did operate, as follows:

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a. Defendant CLAYTON LUCKIE approached the owner of
Corporation B, a demolition and construction business that
operated in southern Ohio. After conversations about the nature
of Corporation B's business, including its efforts to obtain
demolition and construction contracts with various government
entities - including the City of Dayton - defendant CLAYTON
LUCKIE offered the use of Corporation A to satisfy falsely and
fraudulently any Disadvantage Business sub-contracting goals or
requirements contained in these government contracts. In doing
so, defendant CLAYTON LUCKIE knew that Corporation A lacked not
only the construction equipment - such as heavy trucks - but
also the skilled employees necessary to perform bona fide
demolition and construction work required to serve as a
subcontractor on these government contracts.

bs Rather than Corporation A performing actual, bona
fide demolition or construction work on a particular project as
contemplated in a government contract, defendant CLAYTON LUCKIE
understood and agreed that Corporation B would perform these
services itself. To create the false and fraudulent appearance
that Corporation A was working at a particular demolition or
construction site, defendant CLAYTON LUCKIE ordered large

Magnetic signs emblazoned with the name of Corporation A.

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Defendant CLAYTON LUCKIE intended to affix these signs to
Corporation B’s trucks to provide the false appearance that
Corporation A - not Corporation B - was performing demolition
and construction work on the project and to deceive the City of
Dayton in the event that its representatives visited the job
Site.

on To further facilitate the scheme, defendant
CLAYTON LUCKIE prepared and caused to be prepared false,
fictitious and fraudulent documentation, including invoices, for
submission to the contracting government entity, including the
City of Dayton. For instance, defendant CLAYTON LUCKIE
generated and caused to be generated invoices that falsely,
fictitiously, and fraudulently claimed demolition or
construction work that Corporation A purportedly had performed
in compliance with the contract. In reality, Corporation B had
performed these services. In creating this false, fictitious
and fraudulent documentation, defendant CLAYTON LUCKIE intended
to deceive the government entity, including the City of Dayton,
concerning who had performed bona fide demolition or
construction work at the job site.

d. In fraudulently using Corporation A to satisfy

falsely the Disadvantaged Business portion of a government

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contract, defendant CLAYTON LUCKIE expected Corporation B to pay
him thousands of dollars in cash - even though neither he nor
Corporation A had performed or provide actual, bona fide
demolition or construction work on a project consistent with the
government contract.

e. Based, in part, on defendant CLAYTON LUCKIE’S
false and fraudulent pretenses, representations, and promises,
and the non-disclosure and concealment of material facts, the
City of Dayton issued funds, and awarded contracts, totaling
over thousands of dollars.

IIIT. THE MATLINGS

8. On or about the date listed below, in the Southern
District of Ohio, defendant CLAYTON LUCKIE, for the purpose of
carrying out the above-described scheme to defraud and
attempting to do so, caused the items described below to be
deposited and to be sent and delivered by the United States
Postal Service as well as private and commercial interstate

carriers:

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COUNT DATE MAILING
ONE 8/26/2016 Package containing magnetic sign

in the name of Corporation A to
defendant CLAYTON LUCKIE in
Dayton, Ohio

 

 

 

 

All in violation of Title 18, United States Code, Sections

1341 and 2.
COUNT TWO
[18 U.S.C. §§ 1343 and 2]
bs INTRODUCTION
9. The allegations of paragraphs 1 through 5 of this

Indictment are realleged and incorporated by reference as though
set forth in full.

II. THE SCHEME TO DEFRAUD AND ITS EXECUTION

 

10. Between a beginning date unknown, but at least by in
or around June 2016, and continuing through in or around January
2017, in the Southern District of Ohio, defendant CLAYTON LUCKIE
knowingly and with the intent to defraud, devised, executed, and
participated in a scheme to defraud the City of Dayton and to
obtain money and property owned by and under the custody and
control of the City of Dayton, by means of materially false and

fraudulent pretenses, representations, and promises, and the

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non-disclosure and concealment of material facts through a
fraudulent disadvantaged business scheme.

11. The scheme was Secteansed to operate and did operate as
described above in paragraphs 7(a) through 7(e) of this
Indictment.

ITI. THE WIRINGS

12. On or about the dates listed below, in the Southern
District of Ohio, and elsewhere, defendant CLAYTON LUCKIE, for
the purpose of carrying out the above-described scheme to
defraud, caused the transmission of the following writings,
signs, and signals, by means of wire communication in interstate

commerce:

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COUNT DATE MATLING

 

 

TWO 10/28/2016 | Interstate email and attachment
from defendant CLAYTON LUCKIE to

Corporation B

 

 

 

 

 

In violation of Title 18, United States Code, Section 1343

and 2.

A TRUE BILL

—

Foreperson

BENJAMIN C. GLASSMAN
United States Attorney

{SH GT Gee A

BRENT G. TABACCHI
Assistant United States Attorney

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